    USCA11 Case: 22-13513     Document: 35    Date Filed: 03/07/2023   Page: 1 of 67



                                 No. 22-13513-AA


                IN THE UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT


                                MATTHEW SCHRIER,
                                Plaintiff-Appellant,
                                          v.
                               QATAR ISLAMIC BANK,
                                Defendant-Appellee.

                   On Appeal from The United States District Court
            For the Southern District of Florida, Fort Lauderdale Division,
                 No. 0:20-cv-60075-RKA (Honorable Roy K. Altman)


                        APPELLEE’S RESPONSE BRIEF1


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1
  Defendant-Appellee QIB expressly reserves its objections and defenses based on
lack of personal jurisdiction, and does not, by filing this brief, waive any of those
defenses or objections.
 USCA11 Case: 22-13513       Document: 35     Date Filed: 03/07/2023   Page: 2 of 67



                          APPEAL NO. 22-13513-AA
                    MATTHEW SCHRIER V. QATAR ISLAMIC BANK

           APPELLEE’S CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

      In accordance with Fed. R. App. P. 26.1 and 11th Cir. R. 26.1-1, 26.1-2, and

26.1-3, Appellee Qatar Islamic Bank (“QIB”) submits the following Corporate

Disclosure Statement:

      1.     QIB (QIBK.QA) is a Qatari Public Shareholding Company listed on the

Qatar Stock Exchange.

      2.     QIB does not have a parent corporation, and there are no publicly held

corporations owning 10% or more of its stock.

      QIB further provides the following alphabetical list of trial judges, attorneys,

persons, firms, partnerships, and corporations that are known to have an actual or

potential interest in the outcome of this appeal:

      1.     Altman, Roy K. (United States District Judge – Southern District of

             Florida)

      2.     Baker, Emma (FOIA Counsel for Appellant)

      3.     Bondurant, Mixson & Elmore, LLP (Trial and Appellate Counsel Law

             Firm for Appellant)

      4.     Carroll, Kevin T. (Trial Counsel for Appellant)

      5.     Castello, Leslie M. (Counsel for Appellee)



                                       C-1 of 3
USCA11 Case: 22-13513    Document: 35     Date Filed: 03/07/2023   Page: 3 of 67


                         APPEAL NO. 22-13513-AA
                   MATTHEW SCHRIER V. QATAR ISLAMIC BANK

    6.    Couriel, John D. (Former Trial Counsel for Appellant)

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          Appellee)

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    9.    Ghali, Kamal (Counsel for Appellant)

    10.   Guiffre, T. Michael (Counsel for Appellee)

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    12.   Hughes, Hubbard & Reed LLP (FOIA Counsel for Appellant)

    13.   Kaplan, Aryeh Lev (Counsel for Appellee)

    14.   Kobre & Kim, LLP (Trial Counsel Law Firm for Appellant)

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    16.   McMullen, Patrick (Former Non-Litigation Counsel for Appellant)

    17.   Pillsbury Winthrop Shaw Pittman LLP (Trial and Appellate Counsel

          Law Firm for Appellee)

    18.   Qatar Islamic Bank (Appellee)

    19.   Rains IV, John H. (Counsel for Appellant)

    20.   Salinas, Alexander A. (Former Trial Counsel for Appellee)

    21.   Schrier, Matthew (Plaintiff-Appellant)

    22.   Sellers, Matthew R. (Counsel for Appellant)


                                   C-2 of 3
USCA11 Case: 22-13513    Document: 35     Date Filed: 03/07/2023   Page: 4 of 67



                      APPEAL NO. 22-13513-AA
                MATTHEW SCHRIER V. QATAR ISLAMIC BANK

    23.   Sparacino PLLC (Non-Litigation Counsel for Appellant)

    24.   Sparacino, Ryan R. (Non-Litigation Counsel for Appellant)

    25.   Squire Patton Boggs LLP (Former Trial Counsel Law Firm for

          Appellee)

    26.   Tendler, Carrie A. (Trial Counsel for Appellant)

    27.   Thompson, Donald L. (Former Trial Counsel for Appellee)

    28.   Weiss, Jonathan R. (Former Trial Counsel for Appellee)

    29.   Wiggin & Dana, LLP (Former Trial Counsel Law Firm for Appellant)




                                  C-3 of 3
 USCA11 Case: 22-13513      Document: 35     Date Filed: 03/07/2023   Page: 5 of 67



            STATEMENT REGARDING ORAL ARGUMENT

      This appeal arises from the district court’s dismissal of the Second Amended

Complaint of Plaintiff-Appellant Matthew Schrier (“Schrier”) for lack of personal

jurisdiction over Defendant-Appellee Qatar Islamic Bank (“QIB”). QIB does not

seek oral argument, as this case involves the straightforward application of settled

law, but QIB is amenable to oral argument if the Court believes it would be helpful.




                                         i
 USCA11 Case: 22-13513                   Document: 35            Date Filed: 03/07/2023              Page: 6 of 67



                                        TABLE OF CONTENTS

APPELLEE’S CERTIFICATE OF INTERESTED PERSONS AND
    CORPORATE DISCLOSURE STATEMENT ........................................ C-1
STATEMENT REGARDING ORAL ARGUMENT ......................................... i
TABLE OF AUTHORITIES ................................................................................. iv
STATEMENT OF JURISDICTION....................................................................... 1
STATEMENT OF THE ISSUES............................................................................ 2
STATEMENT OF THE CASE ............................................................................... 3
I.       STATEMENT OF FACTS ........................................................................... 3
II.      COURSE OF PROCEEDINGS AND DISPOSITION BELOW ................. 5
SUMMARY OF THE ARGUMENT ..................................................................... 6
STANDARD OF REVIEW .................................................................................... 8
ARGUMENT .......................................................................................................... 9
I.       THE ANTI-TERRORISM ACT DOES NOT CONFER
         PERSONAL JURISDICTION OVER QIB WHERE SERVICE
         WAS EFFECTED OUTSIDE OF THE UNITED STATES ...................... 11
         A.       Attempted Service on QIB’s Patriot Act Agent in the
                  United States was Improper and Ineffective .................................... 11
         B.       Alternative Service in Qatar Exceeded the Territorial
                  Limitations of the ATA .................................................................... 17
II.      THE FEDERAL LONG-ARM STATUTE DOES NOT
         CONFER PERSONAL JURISDICTION OVER QIB............................... 19
         A.       Fifth Amendment Due Process Requires Minimum
                  Contacts Analysis for Personal Jurisdiction..................................... 21
         B.       Schrier’s Claims Do Not Relate to or Arise Out of QIB’S
                  Contacts With The United States ..................................................... 21
                  1.       QIB’s New York Correspondent Accounts Cannot
                           Support Specific Jurisdiction ................................................. 24
                  2.       The district court correctly rejected a theory of
                           conspiracy-jurisdiction under Rule 4(k)(2)............................ 33
         C.       The Exercise of Rule 4(k)(2) Jurisdiction Over QIB
                  Would Be Inconsistent with the United States
                  Constitution ...................................................................................... 39

                                                           ii
 USCA11 Case: 22-13513                  Document: 35           Date Filed: 03/07/2023             Page: 7 of 67



III.     THE FLORIDA LONG-ARM STATUTE DOES NOT
         CONFER JURISDICTION OVER QIB .................................................... 40
IV.      THE DISTRICT COURT DID NOT ABUSE ITS
         DISCRETION IN DENYING SCHRIER’S REQUEST FOR
         SANCTIONS .............................................................................................. 43
CONCLUSION ..................................................................................................... 49
CERTIFICATE OF COMPLIANCE
CERTIFICATE OF SERVICE




                                                         iii
 USCA11 Case: 22-13513                   Document: 35            Date Filed: 03/07/2023               Page: 8 of 67




                                      TABLE OF AUTHORITIES

                                                                                                               Page(s)

Cases

Aetna Bus. Credit, Inc. v. Universal Décor & Interior Design, Inc.,
   635 F.2d 434 (5th Cir. 1981) .............................................................................. 12

Ashcroft v. Iqbal,
   556 U.S. 662, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) ...........................35, 36

Baker v. St. Paul Travelers Ins. Co.,
  670 F.3d 119 (1st Cir. 2012) ...........................................................................9, 44

BankAtlantic v. Blythe Eastman Paine Webber, Inc.,
  12 F.3d 1045 (11th Cir. 1994) .............................................................................. 9

Bell Atl. Corp. v. Twombly,
   550 U.S. 544, 127 S. Ct. 1955, L. Ed. 2d 929 (2007) ........................................ 35

Burger King Corp. v. Rudzewicz,
  471 U.S. 462, 105 S. Ct. 2174, 85 L. Ed. 2d 528 (1985) ................................... 34

C.S.B. Commodities, Inc. v. Urban Trend (HK) Ltd.,
   626 F. Supp. 2d 837 (N.D. Ill. 2009) .................................................................. 19

Cascade Yarns, Inc. v. Knitting Fever, Inc.,
  No. C10-861RSM, 2011 WL 1042578 (W.D. Wash., Mar. 18,
  2011) .............................................................................................................17, 18

Cmt’y for Creative Non–Violence v. Reid,
  490 U.S. 730 (1989) ............................................................................................ 15

Cohen v. Facebook,
  252 F. Supp. 3d 140 (E.D.N.Y. 2017) ................................................................ 17

Consolidated Dev. Corp. v. Sherritt, Inc.,
  216 F.3d 1286 (11th Cir. 2000) ..............................................................19, 20, 39




                                                            iv
  USCA11 Case: 22-13513                    Document: 35             Date Filed: 03/07/2023               Page: 9 of 67



D.J. Simmons, Inc. v. Broaddus,
   No. CIV 99-1105 JP/LFG, 2000 WL 36739814 (D.N.M. June 21,
   2000) ................................................................................................................... 48

Day v. Corner Bank (Overseas) Ltd.,
  789 F. Supp. 2d 150 (D.D.C. 2011) .................................................................... 16

Diamond Crystal Brands, Inc. v. Food Movers Int’l, Inc.,
   593 F.3d 1249 (11th Cir. 2010) .................................................................... 10, 27

F.T.C. v. Sterling Precious Metals, LLC,
   No. 12-80597-CIV, 2013 WL 1442180 (S.D. Fla. Apr. 9, 2013) ...................... 15

Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct.,
  141 S. Ct. 1017 (2021) ............................................................................23, 24, 26

Fraser v. Smith,
   594 F. 3d 842 (11th Cir. 2010) .........................................................20, 21, 39, 40

Hasenfus v. Secord,
  797 F. Supp. 958 (S.D. Fla. 1989) ...................................................................... 41

Helicopteros Nacionales de Colombia S.A. v. Hall,
  466 U.S. 408 (1984) ................................................................................20, 22, 39

Henderson v. Cherry, Bekaert & Holland,
  932 F.2d 1410 (11th Cir. 1991) .................................................................... 15, 16

Herederos De Roberto Gomez Cabrera, LLC v. Teck Res. Ltd.,
  43 F.4th 1303 (11th Cir. 2022) ...........................................................8, 21, 23, 26

Herederos de Roberto Gomez Cabrera, LLC v. Teck Res. Ltd.,
  535 F. Supp. 3d 1299 (S.D. Fla. Apr. 27, 2021), aff’d 43 F.4th
  1303 (11th Cir. 2022).......................................................................................... 29

In re Takata Airbag Products Liab. Litig.,
    396 F. Supp. 3d 1101 (S.D. Fla. 2019) ............................................................... 19

In re Terrorist Attacks on Sept. 11, 2001,
    714 F.3d 659 (2d Cir. 2013) ............................................................................... 24

Ins. Corp. of Ireland v. Compagnie des Bauxites de Guinee,
   456 U.S. 694 (1982) ............................................................................................ 48


                                                              v
 USCA11 Case: 22-13513                   Document: 35             Date Filed: 03/07/2023               Page: 10 of 67



Intercapital Funding Corp v. Gisclair,
   683 So. 2d 530 (Fla. 4th DCA 1996) .................................................................. 42

Internet Sol. Corp. v. Marshall,
   557 F.3d 1293 (11th Cir. 2009) ..............................................................10, 27, 29

Johnson v. Royal Caribbean Cruises, Ltd.,
   474 F. Supp. 3d 1260 (S.D. Fla. 2020) ............................................................... 10

Kaplan v. Cent. Bank of Islamic Republic of Iran,
  No. 10-CV-483 (RCL), 2019 WL 2103424 (D.D.C. May 14, 2019) ................. 14

Keeton v. Hustler Magazine, Inc.,
  465 U.S. 770, 104 S. Ct. 1473, 79 L. Ed. 2d 790 (1984) ................................... 30

Kelly v. A1 Tech.,
   No. 09 CIV. 962 LAK MHD, 2010 WL 1541585 (S.D.N.Y. Apr.
   12, 2010) ............................................................................................................. 47

Klayman v. Fitton,
   No. 19-20544-CIV-MARTINEZ/AOR, 2019 WL 11505348 (S.D.
   Fla. July 11, 2019) ........................................................................................46, 47

Lee v. Etowah Cnty. Bd. of Educ.,
   963 F.2d 1416 (11th Cir. 1992) ......................................................................9, 44

Licci ex rel. Licci v. Lebanese Canadian Bank, SAL,
   732 F.3d 161 (2d Cir. 2013) .........................................................................30, 31

Louis Vuitton Malletier, S.A. v. Mosseri,
  736 F.3d 1339 (11th Cir. 2013) ...................................................................passim

Lowery v. Ala. Power Co.,
  483 F.3d 1184 (11th Cir. 2007) .......................................................................... 14

LSLJ Partnership v. Frito-Lay, Inc.,
  920 F.2d 476 (7th Cir. 1990) ........................................................................44, 45

Martin v. Kuhl,
  528 So. 2d 71-72 (Fla. 4th DCA 1988) .............................................................. 42

Merial Ltd. v. Cipla Ltd.,
  681 F.3d 1283 (Fed. Cir. 2012) ............................................................................ 9


                                                             vi
 USCA11 Case: 22-13513                    Document: 35             Date Filed: 03/07/2023              Page: 11 of 67



Merkin v. PCA Health Plans of Fla., Inc.,
  855 So. 2d 137 (Fla. 3d DCA 2003) ................................................................... 42

Mitnor Corp. v. Club Condominiums,
   339 F.R.D. 312 (N.D. Fla. 2021) ........................................................................ 46

Morris v. Khadr,
  415 F. Supp. 2d 1323 (D. Utah 2006)...........................................................37, 38

Mwani v. bin Laden, 417 F.3d 1 (D.C. Cir. 2005) ................................................... 37

Nelson v. Swift,
   271 F.2d 504 (D.C. Cir. 1959) ................................................................12, 15, 16

New World Network Ltd. v. M/V NORWEGIAN SEA,
  No. 05-22916-CIV, 2007 WL 1068124 (S.D. Fla. Apr. 6, 2007) ...................... 47

Oldfield v. Pueblo De Bahia Lora, S.A.,
   558 F.3d 1210 (11th Cir. 2009) ..............................................................20, 29, 39

Oueiss v. Saud,
  No. 1:20-CV-25022-KMM, 2022 WL 1311114 (S.D. Fla. Mar. 29,
  2022) ................................................................................................................... 34

Polskie Linie Oceaniczne v. Seasafe Trans. A/S,
   795 F.2d 968 (11th Cir. 1986) ............................................................................ 10

Posner v. Essex Ins. Co.,
  178 F.3d 1209 (11th Cir. 1999) .......................................................................... 10

PowerTec Sols. Int’l, LLC v. Hardin,
  No. 19-61373-CV-ALTMAN/Hunt, 2019 U.S. Dist. LEXIS
  201216 (S.D. Fla. Nov. 20, 2019)......................................................................... 9

Prewitt Enterprises, Inc. v. Org. of Petroleum Exporting Countries,
   353 F.3d 916 (11th Cir. 2003) ........................................................................8, 11

Quail Cruises Ship Mgmt., Ltd. v. Agencia de Viagens CVC Tur
  Limitada,
  No. 09–23248–CIV, 2011 WL 5057203 (S.D. Fla. Oct. 24, 2011) ................... 41

Ramos-Barrientos v. Bland,
  661 F.3d 587 (11th Cir. 2011) ......................................................................12, 17


                                                             vii
 USCA11 Case: 22-13513                   Document: 35              Date Filed: 03/07/2023              Page: 12 of 67



Rep. of Panama v. BCCI Holdings (Luxembourg) S.A.,
  119 F.3d 935 (11th Cir. 1997) ............................................................................ 17

RMS Titanic, Inc. v. Kingsmen Creatives, Ltd.,
  579 F. App’x 779 (11th Cir. 2014) ..................................................................... 43

Russo v. Fink,
  87 So. 3d 815 (Fla. 4th DCA 2012) .................................................................... 42

Schansman v. Sberbank of Russia PJSC,
   565 F. Supp. 3d 405 (S.D.N.Y. 2021) ..........................................................31, 32

Schwarz v. City of Treasure Island,
   544 F.3d 1201 (11th Cir. 2008) .......................................................................... 14

Scultpchair, Inc. v. Century Arts, Ltd.,
   94 F.3d 623 (11th Cir. 1996) ........................................................................27, 29

Security Nat'l Bank of Sioux City v. Day,
   800 F.3d 936 (8th Cir. 2015) ..........................................................................9, 44

Showan v. Pressdee,
   922 F.3d 1211 (11th Cir. 2019) .................................................................... 44, 45

Snow v. DirecTV, Inc.,
   450 F.3d 1314 (11th Cir. 2006) .......................................................................... 10

Stansell v. BGP, Inc.,
   No. 8:09–cv–2501–T–30AEP, 2011 WL 1296881 (M.D. Fla. Mar.
   31, 2011) ............................................................................................................. 11

Storm v. Carnival Corp.,
   No. 20-22227-Civ-WILLIAMS/TORRES, 2020 WL 7415835
   (S.D. Fla. Dec. 18, 2020) .................................................................................... 21

Straus v. Credit Lyonnais, S.A.,
   175 F. Supp. 3d 3 (E.D.N.Y. 2016) .................................................................... 32

Tamam v. Fransabank SAL,
  677 F. Supp. 2d 720 (S.D.N.Y. 2010) ..........................................................16, 24

U.S. S.E.C. v. Carillo,
   115 F.3d 1540 (11th Cir. 1997) .......................................................................... 18


                                                            viii
 USCA11 Case: 22-13513                   Document: 35            Date Filed: 03/07/2023              Page: 13 of 67



United States v. Edmondson,
  791 F.2d 1512 (11th Cir. 1986) ............................................................................ 9

United States v. Irey,
  612 F.3d 1160 (11th Cir. 2010) (en banc) .......................................................... 33

United States v. Tianello,
  860 F. Supp. 1521 (M.D. Fla. 1994) ................................................................... 15

United Techs. Corp. v. Mazer,
  556 F.3d 1260 (11th Cir. 2009) .......................................................................... 10

Vasquez v. Hong Kong and Shanghai Banking Corp., Ltd.,
  477 F. Supp. 3d 241 (S.D.N.Y. 2020) ..........................................................24, 30

Virgin Health Corp. v. Virgin Enters. Ltd.,
   393 F. App’x 623 (11th Cir. 2010) ..................................................................... 21

Waite v. All Acquisition Corp.,
  901 F. 3d 1307 (11th Cir. 2018) ......................................................................... 22

Walden v. Fiore,
  571 U.S. 277 (2014) ............................................................................................ 34

Weiss v. Nat’l Westminster Bank, PLC,
  176 F. Supp. 3d 264 (E.D.N.Y. 2016) ..........................................................30, 31

Williams Electric v. Honeywell, Inc.
   854 F.2d 389 (11th Cir. 1988) ............................................................................ 43

Wultz v. Islamic Rep. of Iran,
  755 F. Supp. 2d 1 (D.D.C. Oct. 20, 2022) ..............................................37, 38, 39

Statutes

15 U.S.C. § 77v(a) ................................................................................................... 18

15 U.S.C. § 78aa ...................................................................................................... 18

18 U.S.C. § 2333 ........................................................................................................ 1

18 U.S.C. § 2334(a) ...................................................................................2, 6, 11, 14

28 U.S.C. § 1291 ........................................................................................................ 1

                                                            ix
 USCA11 Case: 22-13513                   Document: 35            Date Filed: 03/07/2023              Page: 14 of 67



28 U.S.C. § 1331 ........................................................................................................ 1

28 U.S.C. § 1367 ........................................................................................................ 1

31 U.S.C. § 5318(k)(3)(A)-(B) ................................................................................ 16

Fla. Stat. § 48.193 .................................................................................................... 43

Fla. Stat. § 48.193(1)(a) ....................................................................................passim

Rules

Fed. R. Civ. P. 4 .............................................................................................8, 13, 14

Fed. R. Civ. P. 4(f) ................................................................................................... 11

Fed. R. Civ. P. 4(f)(3) ........................................................................................11, 17

Fed. R. Civ. P. 4(h) .................................................................................................. 14

Fed. R. Civ. P. 4(k)(2).......................................................................................passim

Fed. R. Civ. P. 4(k)(2)(B) ..................................................................................20, 39

Fed. R. Civ. P. 30 ..................................................................................................... 46

Fed. R. Civ. P. 30(c)(2) ............................................................................................ 46

Fed. R. Civ. P. 30(d) ..........................................................................................47, 48

Fed,. R. Civ. P. 37 .................................................................................................... 48

Fed. R. Civ. P. 37(a)(3)(B)(i) ................................................................................... 47

Fed. R. Civ. P. 60(b) ................................................................................................ 45

U.S. Constitution

U.S. Const., amend. V (Due Process Clause) ......................................................7, 21

U.S. Const., amend. XIV ...................................................................................19, 21

Other Authorities

3 C.J.S. Agency § 601 (updated June 2021)............................................................. 12


                                                            x
 USCA11 Case: 22-13513                 Document: 35           Date Filed: 03/07/2023            Page: 15 of 67



Restatement (Third) of Agency § 1.01 (2006) ......................................................... 15

Schansman v. Sberbank of Russia PJSC, No. 19-cv-02985-ALC
   (S.D.N.Y) [Dkt. 156] .......................................................................................... 32




                                                         xi
USCA11 Case: 22-13513       Document: 35      Date Filed: 03/07/2023   Page: 16 of 67



                      STATEMENT OF JURISDICTION

      The district court did not have personal jurisdiction over QIB and accordingly

dismissed Schrier’s claims for lack of personal jurisdiction for the second time on

September 30, 2022. That dismissal is the subject of Appellant’s appeal, which was

timely filed on October 19, 2022.

      The district court had federal question jurisdiction under 28 U.S.C. § 1331 to

hear claims asserted by Appellant under the Anti-Terrorism Act, 18 U.S.C. § 2333.

The district court also had supplemental jurisdiction over Appellant’s state-law

claims under 28 U.S.C. § 1367.

      This Court has jurisdiction to review the district court’s final order disposing

of all parties’ claims with prejudice and without leave to amend under 28 U.S.C.

§ 1291.




                                          1
USCA11 Case: 22-13513       Document: 35       Date Filed: 03/07/2023   Page: 17 of 67



                         STATEMENT OF THE ISSUES

      The issues presented for review are:

      1.    Whether the district court’s factual finding that Global Payments

Advisory Group (“GPAG”) was not authorized to accept service on behalf of QIB

was clearly erroneous;

      2.    Whether the district court erred in its decision that it could not exercise

personal jurisdiction under the Anti-Terrorism Act (“ATA”), 18 U.S.C. § 2334(a) or

Federal Rule of Civil Procedure 4(k)(2);

      3.    Whether the district court erred in its decision that it could not exercise

personal jurisdiction under the Florida Long-Arm Statute, Fla. Stat. § 48.193(1)(a);

and

      4.    Whether the district court abused its discretion by not granting

Appellant untimely discovery motion for sanctions embedded within his opposition

to QIB’s Motion to Dismiss the Second Amended Complaint.




                                           2
USCA11 Case: 22-13513        Document: 35     Date Filed: 03/07/2023   Page: 18 of 67



                          STATEMENT OF THE CASE

         Qatar Islamic Bank (“QIB”)—a private Qatari bank—acknowledges the

heinous acts perpetrated against Matthew Schrier by the Nusra Front and Ahrar al-

Sham in Syria. But QIB is not responsible for those acts and Schrier has not shown

otherwise. With respect to the central issue on appeal, Schrier has failed to establish

personal jurisdiction over QIB under all three of the jurisdictional theories he

advances. And the district court did not abuse its discretion by not granting Schrier’s

untimely request for discovery sanctions. Accordingly, this Court should affirm the

district court’s Order Granting QIB’s Motion to Dismiss the Second Amended

Complaint.

I.       STATEMENT OF FACTS

         Schrier alleges that he was kidnapped near the Syrian border by the Nusra

Front, a Syrian terrorist organization, and held captive by the Nusra Front and its

ally, the terrorist organization Ahrar al-Sham, from December 31, 2012 to July 29,

2013. Dkt. 149, ¶¶ 1-2, 42. Schrier’s claims arise from this kidnapping and detention,

and he seeks to hold QIB accountable for these events. But QIB is not the responsible

party.

         Schrier alleges that QIB opened and maintained a routine bank account in

Qatar in the name of the son of Saad bin Saad al-Kabi (“al-Kabi”) at least two months

prior to Schrier’s escape. Id., ¶ 115. According to Schrier, al-Kabi used this account



                                          3
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 19 of 67



beginning in May 2013 to fundraise for the Nusra Front through a social media

campaign (the “Madid Campaign”), these donations facilitated his kidnapping or

detention, and QIB processed these transactions using its correspondent bank

accounts in New York. Id., ¶¶ 5-8. Schrier further alleges that because of QIB’s

vaguely alleged due diligence policies, QIB knew about al-Kabi’s association with

the Nusra Front, and therefore that the account was being used to fund terrorist

organizations. Id., ¶¶ 7, 122. But Schrier also concedes that even the United States

government did not designate al-Kabi as a Specially Designated Global Terrorist

(“SDGT”) for his association with the Nusra Front until August 2015, more than two

years after Schrier escaped captivity. Id., ¶ 111. Schrier provides no further

explanation as to how QIB could have known that the father of an account holder

was affiliated with a Syrian terrorist organization.

      Schrier also alleges that QIB supported Syrian terrorism by purportedly

donating to and maintaining routine bank accounts for Qatar Charity, and processing

correspondent account transactions for Qatar Charity that supported Syrian

terrorism. Id., ¶¶ 4, 12. Schrier goes on to allege that QIB entered into a conspiracy

with Qatar Charity, the Nusra Front, Ahrar al-Sham, al-Kabi, and “others” to support

terrorist activities in Syria. See e.g., id., ¶¶ 14-15, 257, 356. But all of these

conclusory allegations were proven false by competent evidence. Jurisdictional

discovery established that not a single dollar flowed through QIB’s correspondent



                                           4
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 20 of 67



accounts that relate to Schrier’s claims in any way, or indeed had any illegitimate

purpose at all. Instead, jurisdictional discovery established that there were no

transactions concerning al-Kabi and only three unrelated transactions concerning

Qatar Charity before Schrier’s escape, consisting of a donation to the United

Nations, a payment for a printer, and a payment for a public relations conference.

II.   COURSE OF PROCEEDINGS AND DISPOSITION BELOW

      The district court dismissed Schrier’s original complaint for lack of personal

jurisdiction and improper service without prejudice and with leave to amend. Dkt.

74. The district court found that Schrier had failed to effectively serve QIB and failed

to establish a basis for personal jurisdiction over QIB. But the district court afforded

Schrier the opportunity to amend his complaint and conduct jurisdictional discovery.

Id. Shortly thereafter, Schrier filed his First Amended Complaint, Dkt. 76, which,

aside from removing several instances of “upon information and belief,” was

identical to the original Complaint, and jurisdictional discovery commenced.

      Following the conclusion of jurisdictional discovery, Schrier filed his Second

Amended Complaint. This complaint again contained largely identical allegations to

the original complaint and added little to Schrier’s factual and jurisdictional

allegations. Dkt. 149. QIB moved for a second time to dismiss the action, arguing

that the evidence produced during jurisdictional discovery established that the

district court did not have personal jurisdiction over QIB. See generally, Dkt. 156-



                                           5
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 21 of 67



1. QIB also argued that the Second Amended Complaint failed to state a claim for

relief, and that the district court should decline to exercise supplemental jurisdiction

over Schrier’s state-law claims. Id. QIB submitted documentary and affidavit

evidence in support of its motion to dismiss. Dkt. 156-2, 156-3, 163-1.

      The district court granted QIB’s motion to dismiss the Second Amended

Complaint, concluding that it lacked personal jurisdiction over QIB under (i) the

Anti-Terrorism Act (“ATA”), 18 U.S.C. § 2334(a), where Schrier failed to perfect

nationwide service of process on QIB under the ATA, (ii) the Florida Long-Arm

Statute, where Schrier’s claims do not arise from any tortious act within Florida, and

(iii) the so-called Federal Long-Arm Statute—Rule 4(k)(2)—where the exercise of

jurisdiction under Rule 4(k)(2) would not be consistent with due process.

                       SUMMARY OF THE ARGUMENT

      The district court correctly held that it did not have personal jurisdiction over

QIB. The Second Amended Complaint contains voluminous conclusory allegations

that are insufficient to make even a prima facie case of personal jurisdiction. Despite

being afforded jurisdictional discovery, Schrier failed to develop any evidentiary

basis for personal jurisdiction over QIB. Indeed, jurisdictional discovery established

that QIB’s attenuated contacts with New York (and the complete absence of any

other contacts with the United States as a whole) could not support the exercise of




                                           6
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 22 of 67



specific personal jurisdiction in this case.2 Because Schrier failed to refute QIB’s

jurisdictional evidence—or even make a prima facie showing of jurisdiction—the

district court correctly held that it lacked personal jurisdiction over QIB.

      The district court correctly concluded that personal jurisdiction over QIB was

lacking under all three jurisdictional theories advanced by Appellant. The district

court correctly determined that Schrier could not invoke the ATA as a statutory basis

for personal jurisdiction where service was attempted on an unauthorized agent in

the United States and service was instead effected outside of the United States. The

district court also correctly determined that Schrier could not establish specific

personal jurisdiction over QIB under Rule 4(k)(2) because such an exercise of

jurisdiction would be unconstitutional under the Due Process Clause of the Fifth

Amendment where QIB did not have sufficient minimum contacts with the United

States. Finally, the district court correctly determined that exercising jurisdiction

under the Florida Long-Arm Statute would be improper, both because the tortious

conduct alleged by Schrier did not occur within Florida and because such alleged

conduct did not give rise to Schrier’s claims.

      In sum, the district court properly applied the controlling legal standards in

concluding that it lacks jurisdiction over QIB. This Court should affirm.



2
 As the district court stated, Appellant conceded that QIB is not subject to general
personal jurisdiction. Dkt. 182 at 22.

                                           7
USCA11 Case: 22-13513        Document: 35     Date Filed: 03/07/2023   Page: 23 of 67



      Schrier also asks the Court to consider whether the district court abused its

discretion by not explicitly addressing Schrier’s untimely discovery motion for

sanctions, which Schrier embedded within his opposition to QIB’s Motion to

Dismiss. Unlike the cases on which Schrier relies, the district court did not refuse to

decide Schrier’s motion based on an erroneous belief that it did not have the

discretion to do so, and therefore, it did not abuse its discretion. In any event, QIB

properly refused to answer merits-based deposition questions when the district court

had ordered discovery limited to jurisdictional issues. Schrier elected not to move to

compel discovery, which would have further demonstrated that his claims were

meritless, and instead embedded his request for an adverse inference in his

opposition to QIB’s Motion to Dismiss.

                            STANDARD OF REVIEW

      This Court reviews a district court’s dismissal for lack of personal jurisdiction

de novo. Herederos De Roberto Gomez Cabrera, LLC v. Teck Res. Ltd., 43 F.4th

1303, 1307 n.1 (11th Cir. 2022). A district court’s interpretation of Rule 4 of the

Federal Rules of Civil Procedure is generally reviewed de novo. Prewitt Enterprises,

Inc. v. Org. of Petroleum Exporting Countries, 353 F.3d 916, 920 (11th Cir. 2003).

      Additionally, a district court’s findings of fact are reviewed for clear error,

even though its legal conclusions pertaining to personal jurisdiction are subject to de

novo review. Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1350 (11th Cir.



                                          8
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023    Page: 24 of 67



2013) (citing Merial Ltd. v. Cipla Ltd., 681 F.3d 1283, 1292 (Fed. Cir. 2012). “A

finding of fact is clearly erroneous only when a reviewing court is left with the

definite and firm conviction that a mistake has been committed.” United States v.

Edmondson, 791 F.2d 1512, 1515 (11th Cir. 1986).

      The standard of review in considering discovery disputes—including

sanctions— is for abuse of discretion; to reverse, the Court must be left with a

definite and firm conviction that the court below committed clear error of judgment

in the conclusion it reached. BankAtlantic v. Blythe Eastman Paine Webber, Inc., 12

F.3d 1045, 1048 (11th Cir. 1994); see also Lee v. Etowah Cnty. Bd. of Educ., 963

F.2d 1416, 1420 (11th Cir. 1992) (discovery ordered reviewed for abuse of

discretion); Baker v. St. Paul Travelers Ins. Co., 670 F.3d 119, 122 (1st Cir. 2012)

(discovery orders, including the denial of a motion for discovery sanctions, are

reviewed for abuse of discretion); Security Nat'l Bank of Sioux City v. Day, 800 F.3d

936, 941 (8th Cir. 2015) (same).

                                    ARGUMENT

      A plaintiff “bears the initial burden of alleging in the complaint sufficient facts

to make out a prima facie case of jurisdiction.” Louis Vuitton, 736 F.3d at 1350

(emphasis added) (citation omitted). Vague and conclusory allegations “do not

suffice to establish a prima facie case of personal jurisdiction.” PowerTec Sols. Int’l,

LLC v. Hardin, No. 19-61373-CV-ALTMAN/Hunt, 2019 U.S. Dist. LEXIS 201216,



                                           9
USCA11 Case: 22-13513        Document: 35       Date Filed: 03/07/2023   Page: 25 of 67



at *7 (S.D. Fla. Nov. 20, 2019) (citing Snow v. DirecTV, Inc., 450 F.3d 1314, 1318

(11th Cir. 2006)).

      Even if a plaintiff meets this burden, the defendant can rebut the allegations

by submitting affidavits, documents, or testimony. See Internet Sol. Corp. v.

Marshall, 557 F.3d 1293, 1295 (11th Cir. 2009). However, the burden then shifts

“back to the plaintiff, this time requiring the plaintiff to prove—not merely allege—

jurisdiction by affidavits, testimony, or other documents.” Johnson v. Royal

Caribbean Cruises, Ltd., 474 F. Supp. 3d 1260, 1265 (S.D. Fla. 2020) (citing Posner

v. Essex Ins. Co., 178 F.3d 1209, 1214-15 (11th Cir. 1999)); see also United Techs.

Corp. v. Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009). Courts construe reasonable

inferences in favor of the plaintiff only if the evidence conflicts. See Diamond

Crystal Brands, Inc. v. Food Movers Int’l, Inc., 593 F.3d 1249, 1257 (11th Cir. 2010).

      Similarly, “if the defendant makes a showing of the inapplicability of the long-

arm statute, ‘the plaintiff is required to substantiate the jurisdictional allegations in

the complaint by affidavits or other competent proof, and not merely reiterate the

factual allegations in the complaint.” Id. (quoting Polskie Linie Oceaniczne v.

Seasafe Trans. A/S, 795 F.2d 968, 972 (11th Cir. 1986)). Here, QIB has sufficiently

rebutted Schrier’s jurisdictional allegations with evidence, but Schrier has altogether

failed to meet his burden to substantiate the same.




                                           10
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 26 of 67



I.    THE ANTI-TERRORISM ACT DOES NOT CONFER PERSONAL
      JURISDICTION OVER QIB WHERE SERVICE WAS EFFECTED
      OUTSIDE OF THE UNITED STATES

      The ATA provides for nationwide service of process, allowing the exercise of

jurisdiction over a defendant that is served “in any district where the defendant

resides, is found, or has an agent.” 18 U.S.C. § 2334(a); Stansell v. BGP, Inc., No.

8:09–cv–2501–T–30AEP, 2011 WL 1296881, at *3 (M.D. Fla. Mar. 31, 2011)

(Moody, J.) (“The ATA authorizes nationwide service of process to establish

jurisdiction.”). Schrier concedes that service pursuant to the ATA must occur within

the United States. See Appellant’s Br. at 16, 20. But Schrier did not serve QIB in the

United States. Instead Schrier first attempted to serve QIB’s unauthorized agent in

the United States and then elected serve QIB in Qatar via FedEx pursuant to

alternative service ordered by the district court, at Schrier’s request, under Rule

4(f)(3). Dkts. 97-98, 121. Rule 4(f) only permits a foreign corporation to be served

“at a place not within any judicial district of the United States.” Prewitt Enterprises,

Inc., 353 F.3d at 921. Because Schrier did not serve QIB in the United States

pursuant to the ATA’s nationwide service provision, the district court correctly held

that the ATA could not provide a basis to exercise personal jurisdiction over QIB.

      A.     Attempted Service on QIB’s Patriot Act Agent in the United States
             was Improper and Ineffective

      Schrier first attempted service on QIB’s U.S. Patriot Act agent, GPAG, in

January 2020 via e-mail. Dkt. 182 at 13. However, the district court correctly


                                          11
USCA11 Case: 22-13513        Document: 35       Date Filed: 03/07/2023   Page: 27 of 67



decided—twice—that GPAG lacked authority to accept service of process on behalf

of QIB in a private civil action based on the limitations on GPAG’s authority

specified in QIB’s contract with GPAG. Dkts. 182 at 14; 163-1, Exh. J. After

reviewing the evidence, the district court found that the contract between GPAG and

QIB authorizes GPAG to accept service only in limited scenarios under the U.S.

Patriot Act, none of which encompass Schrier’s private civil action. Id. The district

court correctly pointed out that Schrier ultimately “bears the burden of proving that

QIB authorized GPAG to accept service in this kind of case” and that he had failed

to do so. Dkt. 182 at 18 (emphasis in original) (citing Aetna Bus. Credit, Inc. v.

Universal Décor & Interior Design, Inc., 635 F.2d 434, 435 (5th Cir. 1981)). And

Schrier himself concedes that “the district court is undoubtedly correct that, as a

general rule, a principal can limit an agent’s authority.” Appellant’s Br. at 18. Indeed,

the law of agency is clear. See Ramos-Barrientos v. Bland, 661 F.3d 587, 600 (11th

Cir. 2011) (“[A]n agent is authorized to do, and to do only, what it is reasonable for

him to infer that the principal desires him to do in the light of the principal’s

manifestations and the facts as he knows or should know them at the time he acts[.]”)

(cleaned up) (citations omitted); Nelson v. Swift, 271 F.2d 504, 505 (D.C. Cir. 1959)

(“According to the agent’s undisputed affidavit the appellee had not authorized him,

in writing or orally, to accept or receive service of process on her behalf. The District

Court rightly quashed service.”); 3 C.J.S. Agency § 601 (updated June 2021)



                                           12
USCA11 Case: 22-13513        Document: 35       Date Filed: 03/07/2023   Page: 28 of 67



(“Evidence sufficient to establish an agency for one purpose does not tend to prove

the existence of an agency for another entirely different purpose.”).

      Nevertheless, Schrier argues that the ATA “authorizes service on ‘an agent,’

full stop” and because GPAG is an agent of QIB (even if one not authorized to accept

this type of service), the normal rules governing agency need not apply because

Congress did not specifically state that they should. Appellant’s Br. at 16. As an

initial matter, Schrier did not raise this argument in response to QIB’s motion to

dismiss the Second Amended Complaint, upon which the order underlying this

appeal is based. Dkt. 158 at 1.3 Instead, he purported to “respect[ ] the Court’s [prior]

ruling . . . that service on GPAG did not effect service under the ATA’s nationwide

service provision,” and framed his argument on the basis of new evidence which, he

claimed, showed that GPAG was actually authorized by QIB to accept service on its

behalf in a private civil action. Id. This factual issue concerning the scope of GPAG’s

agency was the only argument regarding ATA service that Schrier presented for the

district court’s consideration.

      In any event, the argument that the ATA allows service upon any “agent,”

whether authorized or not, is contrary to the ATA, Fed. R. Civ. P. 4, the Patriot Act



3
  Schrier previously raised this argument in his opposition to QIB’s motion to
dismiss the original complaint, which was granted. Dkts. 38 at 2; 74. Schrier failed
to re-raise this argument at any point in opposing the motion to dismiss his Second
Amended Complaint.

                                           13
USCA11 Case: 22-13513       Document: 35      Date Filed: 03/07/2023   Page: 29 of 67



agency rule, and common sense. The ATA’s venue provision, 18 U.S.C. § 2334(a),

does not prescribe a method for service of process, but rather specifies where service

may be effected (“any district where the defendant resides, is found, or has an

agent”). The ATA—through its venue provision or otherwise—does not address

upon whom service may be effected, and it does not displace the requirements of

Rule 4. See e.g., Kaplan v. Cent. Bank of Islamic Republic of Iran, No. 10-CV-483

(RCL), 2019 WL 2103424, at *2 (D.D.C. May 14, 2019); Fed. R. Civ. P. 4(h)

(requiring that an agent be “authorized by appointment or law to receive service of

process”). Despite Schrier’s attempt to conflate statutes providing methods of

service with the ATA’s venue provision, he provides no actual precedent or support

for his argument that Congress intended to permit service on unauthorized agents.

See Appellant’s Br. at 16-18.

      Schrier’s argument also fails to address the obvious, which is that normal rules

(including those governing agency) should always apply unless Congress provides

otherwise. Where a term is not defined by the statute, courts look to the word’s

ordinary meaning.4 See e.g., Schwarz v. City of Treasure Island, 544 F.3d 1201, 1214



4
  Nor is the Court required to look for additional guidance as to Congress’ intent
unless there is an ambiguity in the language of the statute. Lowery v. Ala. Power
Co., 483 F.3d 1184, 1205 (11th Cir. 2007) (“When ambiguity in a statute
renders congressional intent unclear, and that lack of clarity cannot be resolved
through the sort of intrinsic aids we have employed here, it is appropriate to resort
to extrinsic aids such as legislative history.”).

                                         14
USCA11 Case: 22-13513       Document: 35      Date Filed: 03/07/2023   Page: 30 of 67



(11th Cir. 2008). “[W]here Congress uses terms that have accumulated settled

meaning under the common law, a court must infer, unless the statute otherwise

dictates, that Congress means to incorporate the established meaning of these terms.”

United States v. Tianello, 860 F. Supp. 1521, 1524 (M.D. Fla. 1994) (applying

normal agency rules to the undefined term “agent”) (quoting Cmt’y for Creative

Non–Violence v. Reid, 490 U.S. 730, 739 (1989)). Courts in this Circuit confronted

with a similar lack of definition for an “agent” in a statute have, in looking to its

ordinary meaning, applied the normal rules of agency consistent with this principle.

See F.T.C. v. Sterling Precious Metals, LLC, No. 12-80597-CIV, 2013 WL 1442180,

at *5 (S.D. Fla. Apr. 9, 2013) (citing Restatement (Third) of Agency § 1.01 (2006));

Tianello, 860 F. Supp. at 1524.

      Schrier relies on Nelson v. Swift and Henderson v. Cherry to support his

contention that the legislature may authorize service on individuals other than those

authorized by the defendant. Appellant’s Br. at 18. Neither of those cases applies

here. First, Schrier misunderstands the implication of Nelson, whose reference to

substituted service in no way indicates that service could be made upon an agent

who has a limited and expressly-defined scope of authority that does not include

accepting such service. Nelson v. Swift, 271 F.2d 504 (D.C. Cir. 1959). And in

Henderson¸ service on an employee was valid because Georgia law permitted

service on employees. Henderson v. Cherry, Bekaert & Holland, 932 F.2d 1410,



                                         15
USCA11 Case: 22-13513        Document: 35       Date Filed: 03/07/2023   Page: 31 of 67



1412 (11th Cir. 1991). Here, however, Congress has not explicitly excluded the

ATA’s nationwide service of process provision from longstanding agency rules. Nor

does Schrier cite any authority that addresses Congress’ interpretation of “agent” or

otherwise indicates that Congress intended special rules to apply to agents for the

purpose of the ATA. Nelson and Henderson are therefore inapposite.

      Schrier essentially seeks to create a new rule that would permit plaintiffs to

serve private causes of action upon Patriot Act agents. But the Patriot Act provides

only for the service of a government summons—by the Secretary of the Treasury or

the Attorney General—for bank records, not a private lawsuit. 31 U.S.C.

§ 5318(k)(3)(A)-(B); see Day v. Corner Bank (Overseas) Ltd., 789 F. Supp. 2d 150,

157 (D.D.C. 2011) (holding statute “requires only that an agent be designated to

receive service from either the Secretary of the Treasury or the Attorney General of

the United States, and does not apply to private causes of action.”); Tamam v.

Fransabank SAL, 677 F. Supp. 2d 720, 732 (S.D.N.Y. 2010) (“[T]he fact that these

PATRIOT Act certifications require foreign banks to designate a proxy to accept

service of process by the U.S. Government does not indicate that Defendants should

reasonably foresee being haled into a U.S. Court . . .”). GPAG is a Patriot Act agent

whose authorization is expressly limited to service pursuant to the Patriot Act. Dkt.

163-1, Exh. J. As the district court stated, and as Schrier himself concedes, an agent

may only act for its principal to the extent that the principal has “authorized” it to do



                                           16
USCA11 Case: 22-13513         Document: 35      Date Filed: 03/07/2023    Page: 32 of 67



so. See Ramos-Barrientos v. Bland, 661 F.3d 587, 600 (11th Cir. 2011); Appellant’s

Br. at 18.

       Schrier’s attempted service on GPAG was therefore manifestly improper and

ineffective, and the district court correctly concluded that it could not serve as a basis

for the exercise of specific personal jurisdiction over QIB under the ATA.

       B.    Alternative Service in Qatar Exceeded the Territorial Limitations
             of the ATA

       Schrier moved for court authorization for alternative service under Fed. R.

Civ. P. 4(f)(3). This request was granted, and Schrier subsequently represented that

he served QIB in Qatar via FedEx. See Dkts. 87, 97-98, 121; see also Dkt. 182 at

18-19. Because Schrier elected to serve the summons outside of the United States,

which exceeds the territorial limitations of the ATA, the district court correctly held

that he did not effect service under the ATA and was therefore precluded from

invoking the ATA as a statutory basis for personal jurisdiction. Dkt. 182 at 20; see

Rep. of Panama v. BCCI Holdings (Luxembourg) S.A., 119 F.3d 935, 942 (11th Cir.

1997) (“When a federal statute provides for nationwide service of process, it

becomes the statutory basis for personal jurisdiction.”); Cohen v. Facebook, 252 F.

Supp. 3d 140, 152 (E.D.N.Y. 2017) (where the ATA authorizes nationwide service,

as opposed to worldwide service, service of process must occur in the United States);

Cascade Yarns, Inc. v. Knitting Fever, Inc., No. C10-861RSM, 2011 WL 1042578,

at * 1 (W.D. Wash., Mar. 18, 2011) (“[I]t would be inappropriate for courts to


                                           17
USCA11 Case: 22-13513         Document: 35      Date Filed: 03/07/2023    Page: 33 of 67



effectively extend the territorial reach of a federal statute” where the statute

“provides for nationwide service of process.”).

      Nor are Schrier’s policy arguments persuasive.5 Congress could have elected

to include a worldwide, rather than nationwide, service provision in the ATA, which

would permit the exercise of jurisdiction on a foreign defendant served anywhere in

the world. See U.S. S.E.C. v. Carillo, 115 F.3d 1540, 1544 n.4 (11th Cir. 1997)

(personal jurisdiction invoked on the basis of federal securities laws, which provide

for   worldwide     service     of   process;      the   language    of     15   U.S.C.

§§ 77v(a) and 78aa authorizes service of process on a defendant in any district “of

which the defendant is an inhabitant or wherever the defendant may be found,” and

expressly provide for “extraterritorial jurisdiction”). But Congress did not. Courts

are thus bound by that limitation. See Cascade Yarns, Inc., 2011 WL 1042578, at *8

(stating it “would be inappropriate for a federal court to effectively extend the

territorial reach of a federal statute” when not authorized by such statute) (citation

omitted).




5
  This includes Schrier’s argument that the district court ignored Congress’ findings
in enacting JASTA. Appellant’s Br. at 43-44. Schrier conflates direct and indirect
liability under JASTA with jurisdictional requirements, a completely separate
analysis.

                                         18
USCA11 Case: 22-13513        Document: 35       Date Filed: 03/07/2023   Page: 34 of 67



II.   THE FEDERAL LONG-ARM STATUTE DOES NOT CONFER
      PERSONAL JURISDICTION OVER QIB

      Under the prevailing legal standards, the district court properly rejected

Schrier’s argument that personal jurisdiction could be exercised over QIB pursuant

to the so-called federal long-arm statute, Rule 4(k)(2). Fed. R. Civ. P. 4(k)(2). Rule

4(k)(2) provides for jurisdiction where a defendant has “ample contacts with the

nation as a whole, but whose contacts are so scattered among states that none of them

would have jurisdiction.” C.S.B. Commodities, Inc. v. Urban Trend (HK) Ltd., 626

F. Supp. 2d 837, 844 (N.D. Ill. 2009) (citation omitted); see also In re Takata Airbag

Products Liab. Litig., 396 F. Supp. 3d 1101, 1151-52 (S.D. Fla. 2019). As the district

court properly stated, in cases where the court is exercising personal jurisdiction

under Rule 4(k)(2), “the applicable forum for the minimum contacts analysis is the

United States.”6 Dkt. 182 at 31 (citing Consolidated Dev. Corp. v. Sherritt, Inc., 216

F.3d 1286, 1291 (11th Cir. 2000)).7

      The district court applied the prevailing preliminary analysis of this Circuit in

determining whether Rule 4(k)(2) could be applicable, considering: (1) whether QIB

is “not amenable to the jurisdiction of any state’s courts of general jurisdiction[,]”



6
  Where, as here, the only contacts alleged are between QIB and a single state, New
York, Rule 4(k)(2) should be inapplicable. See Dkt. 156-1 at 7 (collecting cases).
7
  As discussed infra, the district court also correctly rejected Schrier’s arguments that
it need not apply the “minimum contacts” analysis because Rule 4(k)(2) implicates
the Fifth, rather than Fourteenth Amendment. See Dkt. 182 at 31-32 n.16.

                                           19
USCA11 Case: 22-13513         Document: 35       Date Filed: 03/07/2023   Page: 35 of 67



(2) whether the plaintiff asserted “a claim that arises under federal law” and (3)

whether the plaintiff has “serve[d] a summons or fil[ed] a waiver of service.”

Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d 1210, 1218 (11th Cir. 2009); Fed.

R. Civ. P. 4(k)(2); Dkt. 182 at 29, 31. Although the district court concluded that

Schrier met these three preliminary elements based on the assumption that QIB is

not amenable to jurisdiction in the courts of any state,8 it ultimately determined that

he failed to meet the final element, which requires that the “exercise of jurisdiction

be consistent with the United States Constitution[.]” Dkt. 182 at 31; Fed. R. Civ. P.

4(k)(2)(B).9

       This Court has held that Rule 4(k)(2)’s specific personal jurisdiction due

process analysis requires that (1) QIB “must have contacts [in the United States]

related to or giving rise to the plaintiff’s cause of action”; (2) QIB must, “through

those contacts, have purposefully availed itself of forum benefits,” and (3) QIB’s

“contacts with the forum must be such that it could reasonably anticipate being haled



8
  Consistent with its position before the district court, QIB is not subject to the
jurisdiction of any state’s courts of general jurisdiction and reserves its right to object
to such jurisdiction in any future proceedings.
9
  As this Court has stated, “[j]urisdiction ‘consistent with the Constitution and laws
of the United States’ is that which comports with due process.” Consolidated Dev.,
216 F.3d at 1291. To comport with due process, the non-resident defendant must
have certain minimum contacts with the forum such that the maintenance of the suit
does not offend the traditional notions of fair play and substantial justice. See
Helicopteros Nacionales de Colombia S.A. v. Hall, 466 U.S. 408, 414 (1984);
Fraser, 594 F. 3d at 846; Oldfield, 558 F.3d at 1220.

                                            20
USCA11 Case: 22-13513       Document: 35      Date Filed: 03/07/2023   Page: 36 of 67



into court there.” Fraser v. Smith, 594 F. 3d 842, 850 (11th Cir. 2010) (emphasis

added); see also Louis Vuitton, 736 F.3d at 1355; Dkt. 182 at 33. But, “even if Rule

4(k)(2) could apply, conclusory statements do not constitute the prima facie showing

necessary to carry the burden of establishing jurisdiction.” Storm v. Carnival Corp.,

No. 20-22227-Civ-WILLIAMS/TORRES, 2020 WL 7415835, at *11 (S.D. Fla. Dec.

18, 2020) (citation omitted); see also Virgin Health Corp. v. Virgin Enters. Ltd., 393

F. App’x 623, 627 n.2 (11th Cir. 2010) (plaintiff “bears the burden of pleading

jurisdiction” under Rule 4(k)(2)). Here, the district court correctly determined that

Schrier failed to meet this burden.

      A.     Fifth Amendment Due Process Requires Minimum Contacts
             Analysis for Personal Jurisdiction

      Schrier argues the minimum contacts analysis is not required where Rule

4(k)(2) implicates the Fifth, rather than Fourteenth, Amendment. Appellant’s Br. at

45-46. But as Schrier himself concedes, it is well-settled in this Court that “courts

should analyze personal jurisdiction under the Fifth Amendment using the same

basic standards and tests that apply under the Fourteenth Amendment.” Herederos,

43 F.4th at 1308.

      B.     Schrier’s Claims Do Not Relate to or Arise Out of QIB’S Contacts
             With The United States

      Schrier alleges two categories of minimum contacts with the United States:

(1) QIB’s maintenance of New York correspondent accounts, and (2) its alleged co-



                                         21
USCA11 Case: 22-13513         Document: 35      Date Filed: 03/07/2023    Page: 37 of 67



conspirators’ conduct in Syria being directed at and having an effect in the United

States.10 Appellant’s Br. at 24. But these contacts, whether real or imagined, are

insufficient both to establish a prima facie case for jurisdiction and to rebut QIB’s

evidence that such contacts are unrelated to Schrier’s claims.

      The “relationship among the defendant, the forum, and the litigation is the

essential foundation” of specific personal jurisdiction. Helicopteros Nacionales de

Colombia S.A., 466 U.S. at 414 (emphasis added). “[A] fundamental element of the

specific jurisdiction calculus is that [the] plaintiff’s claim must arise out of or relate

to at least one of the defendant’s contacts with the forum.” Louis Vuitton, 736 F.3d

at 1355 (cleaned up); see Dkt. 182 at 33. Without that connection, there cannot be

specific personal jurisdiction.

      In its Order, the district court acknowledged that prior precedent in this

Circuit, wherein “a tort ‘arises out of or relates’ to the defendant’s activities” in the

forum “only if the activity is a ‘but-for’ cause of the tort,” is no longer applicable.

Dkt. 182 at 33, n.17 (quoting Waite v. All Acquisition Corp., 901 F. 3d 1307, 1314




10
  Schrier states that QIB has “three categories” of minimum contacts with the United
States, consisting of (1) correspondent accounts, (2) the alleged conspiracy, and (3)
alleged conduct aimed at the United States which caused effects here. See
Appellant’s Br. at 24, 39. This latter category is inextricably linked to the conspiracy
theory of jurisdiction, as Schrier does not allege any conduct by QIB that was aimed
at or caused effects in the United States beyond its alleged role in the alleged
conspiracy.

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USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 38 of 67



(11th Cir. 2018)); see also Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct.

1017, 1033 (2021) (Alito, J., concurring).

      Schrier overstates the significance of Ford. Ford, a stream-of-commerce case,

held that while “a strict causal relationship between the defendant’s in-[forum]

activity and the litigation” is not required, ‘the phrase ‘relate to’ incorporates real

limits,” and that “does not mean anything goes.” Ford, 141 S. Ct. at 1026; see also

Herederos, 43 F.4th at 1310-11 (citing Ford). Even under Ford’s less stringent

standard, “there must be an affiliation between the forum and the underlying

controversy, principally, [an] activity or an occurrence that takes place in the forum

[] and is therefore subject to the [forum’s] regulation.” Ford, 141 S. Ct. at 1025

(cleaned up). The “relationship among the defendant, the forum, and the litigation—

the essential foundation of specific jurisdiction”—must still be “strong.” Id. at 1028;

Dkt. 182 at 33. That “strong” relationship is entirely lacking here. Ford certainly did

not consider, much less hold, that a foreign defendant’s forum contacts after the

events relating to a plaintiff’s claims could support the exercise of personal

jurisdiction. Rather, Ford distinctly considered jurisdiction “[w]hen a company like

Ford serves a market for a product in a State and that product causes injury in the

State to one of its residents.” 141 S. Ct. at 1022. In that regard, causation was a

critical element of the jurisdictional inquiry, as the product caused the injury. See




                                          23
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 39 of 67



Ford, 141 S. Ct. at 1026-27. Here, unlike in Ford, Schrier’s claims cannot plausibly

be said to arise out of or relate to QIB’s remote and attenuated U.S. contacts.

             1.     QIB’s New York Correspondent Accounts Cannot Support
                    Specific Jurisdiction

      The only direct contacts that Schrier alleges QIB has had with the United

States are with New York through the maintenance of its correspondent accounts.

Courts have consistently held that the mere maintenance of correspondence accounts

is insufficient to establish minimum contacts with the United States. In re Terrorist

Attacks on Sept. 11, 2001, 714 F.3d 659, 676 (2d Cir. 2013) (merely providing

financial services to an entity that carries out a terrorist attack is insufficient for

personal jurisdiction); Vasquez v. Hong Kong and Shanghai Banking Corp., Ltd., 477

F. Supp. 3d 241, 258 (S.D.N.Y. 2020) (three transactions through a correspondent

account were “too sparse” to warrant inference of purposeful availment); Tamam,

677 F. Supp. 2d at 731-32 (“The mere maintenance of a correspondent account in

New York no more establishes minimum contacts with the United States than it does

provide a basis for the exercise of long-arm jurisdiction”; plaintiffs’ injuries were

“not substantially related to the U.S. correspondent accounts such that their claims

arise from the alleged currency transfers”).11 Where there are no correspondent


11
  Schrier agrees that “the ‘mere maintenance of a correspondent account,’ without
any transactions related to a terrorist group, cannot create a relationship that
establishes jurisdiction.” Appellant’s Br. at 32. Yet, Schrier failed to rebut the
(Continued...)

                                          24
USCA11 Case: 22-13513   Document: 35   Date Filed: 03/07/2023   Page: 40 of 67
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 41 of 67




Dkt. 156-2, Exhs. A-C. As the district court explained, while Schrier does not need

to show that these transactions caused his kidnapping and detention, he does need to

be able to show “a relationship between [QIB’s] conduct within [the United States]

and the cause of action.” Dkt. 182 at 35 (quoting Herederos, 43 F.4th at 1311); see

also Ford, 141 S. Ct. at 1028. But Schrier makes no attempt to explain how these

three transactions could possibly “relate to” his claims, nor does the Second

Amended Complaint even allege that they do. See Dkt. 182 at 35-36.

      Further, the district court observed that the only evidence pertaining to these

three transactions was submitted by QIB and found as a matter of fact that the

evidence “unambiguously suggest[s] that these transfers went to legitimate

organizations”, Id. at 37 (emphasis in original), “strongly suggests that the three

transactions . . . have nothing to do with Schrier’s captivity”, id. at 38, and

“unambiguously indicates that all three [transactions] funded legitimate

organizations.” Id. at 38 n.19; see also id. at 41 (“QIB has shown, with competent

evidence, that even these three [routine financial transactions] had nothing to do with

terrorism generally—or Schrier’s captivity specifically[, . . .] and Schrier has failed




                                          26
USCA11 Case: 22-13513   Document: 35   Date Filed: 03/07/2023   Page: 42 of 67
USCA11 Case: 22-13513   Document: 35   Date Filed: 03/07/2023   Page: 43 of 67
USCA11 Case: 22-13513   Document: 35   Date Filed: 03/07/2023   Page: 44 of 67
USCA11 Case: 22-13513       Document: 35      Date Filed: 03/07/2023   Page: 45 of 67



27, 2021), aff’d 43 F.4th 1303 (11th Cir. 2022); see also Vasquez, 477 F. Supp. 3d at

258 (holding that three transactions through a correspondent account were “too

sparse” to warrant inference of purposeful availment). Given the lack of any evident

relationship between the post-escape transactions and Schrier’s claims, the district

court properly disregarded them. Dkt. 182 at 35, 48.

      Schrier’s reliance on Licci and Weiss is therefore misplaced. Specifically, both

cases dealt with the application of the New York long-arm statute, not Rule 4(k)(2),

and both included robust allegations of continuous and repeated transactions that

directly related (and contributed) to the harms alleged. See Appellant’s Br. at 28;

Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d 161 (2d Cir. 2013);

Weiss v. Nat’l Westminster Bank, PLC, 176 F. Supp. 3d 264 (E.D.N.Y. 2016). In

Licci, the defendant’s New York correspondent account executed “dozens of dollar

denominated wire transfers” that were “a part of the principal wrong at which the

plaintiffs’ lawsuit [was] directed[.]” Licci, 732 F. 3d at 170 (emphasis added). These

transfers were for millions of dollars and were not “random, isolated, or fortuitous.”

Id. at 171 (quoting Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 774, 104 S. Ct.

1473, 79 L. Ed. 2d 790 (1984)). The Second Circuit therefore concluded that “the

selection and repeated use of New York’s banking system, as an instrument for

accomplishing the alleged wrongs for which the plaintiffs seek redress,” supported

the exercise of jurisdiction under the New York long-arm statute. Id. Likewise, in



                                         30
USCA11 Case: 22-13513          Document: 35       Date Filed: 03/07/2023    Page: 46 of 67



Weiss, the defendant executed 196 transfers that allegedly contributed to the attacks

that injured plaintiffs through its correspondent accounts and New York branch to

fronts for Hamas. Weiss, 176 F. Supp. at 271. These transfers were not just “once or

twice by mistake,” nor were they executed “at a time far removed from the attacks

that caused Plaintiffs’ injuries.” Id. at 279; see also id. at 280 (noting the first transfer

was in 1996 and the last was in 2003, which overlapped with the attacks in 2002 and

2004 that caused plaintiffs injuries). Representing more than $4 million, these

“transfers by no means were de minimis.” Id. at 280.

       In contrast, Schrier does not identify any transaction made through QIB’s

correspondent accounts that was used as “an instrument for accomplishing” his

kidnapping or detention, the alleged wrongs for which he seeks redress. Licci, 732

F. 3d at 171. The only transaction he identifies was

                                                                                             .

Dkts. 149, ¶ 230; 156-2, Exh. F. Schrier’s argument that the transfer he identifies

does not need to correspond to his injuries is misleading. Appellant’s Br. at 43. In

Schansman v. Sberbank of Russia PJSC, the court considered whether it had personal

jurisdiction over defendant banks under the New York long-arm statute. Schansman

v. Sberbank of Russia PJSC, 565 F. Supp. 3d 405 (S.D.N.Y. 2021). While the court

stated that for personal jurisdiction, ATA claims do not necessarily have to

correspond one-to-one with particular transfers, there still must be a connection



                                             31
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 47 of 67



between the transfers and the events on which a plaintiff’s claims are based. For

example, a court may rely on “the millions of dollars” that were allegedly transferred

to the terrorist organizations in close temporal proximity to the attack.16 Id. at 413

(emphasis added) (quoting Straus v. Credit Lyonnais, S.A., 175 F. Supp. 3d 3, 24

(E.D.N.Y. 2016)).17 That is a significant departure from the facts present here, where

Schrier relies entirely                                                        .

      Lastly, Schrier argues that QIB’s refusal to answer certain questions during its

30(b)(6) deposition is “evidence” that there is some “relationship between these five

[Qatar Charity] transactions and Schrier’s claims.” Appellant’s Br. at 31. As

discussed in greater detail in Section IV, this too is unavailing. A court cannot grant

a request for an adverse inference that is directly contradicted by the evidence

produced during discovery, which included all documents concerning the

transactions. The district court considered whether these transactions were related to

Schrier’s claims, and correctly found, based on the evidence presented, that they

were not.



16
    The Schansman plaintiffs identified and relied upon specific transfers that
occurred within a month or two before the attack at issue. Schansman v. Sberbank of
Russia PJSC, No. 19-cv-02985-ALC (S.D.N.Y), Second Amended Complaint, ¶ 57
[Dkt. 156].
17
   In Strauss, the court determined that millions of dollars in transfers leading up to
the attacks for which plaintiffs sought redress could be used as a basis to exercise
personal jurisdiction under the New York long-arm statute. Straus v. Credit Lyonnais,
S.A., 175 F. Supp. 3d 3, 23-24 (E.D.N.Y. 2016).

                                          32
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 48 of 67



      Still, Schrier argues that this Court should consider uncontroverted facts, and

that the district court could not ignore “undisputed facts.” Appellant’s Br. at 31-32

(quoting United States v. Irey, 612 F.3d 1160, 1190 (11th Cir. 2010) (en banc))

(emphasis added). But the district court did not ignore undisputed and

uncontroverted facts. QIB wholly disputes and has submitted evidence which

controverts the allegation that its correspondent account transactions relate in any

way to Schrier’s claims and the harm he alleges. See Dkt. 156-2, Exhs. A-F, I.

Schrier’s assertion that the district court “clearly erred” in holding that there was no

evidence that the transactions supported Syrian terrorism is manifestly false.

Appellant’s Br. at 32. The district court’s factual finding that these transactions had

“nothing to do with terrorism generally—or Schrier’s captivity specifically” is

supported by the evidentiary record. Dkt. 182 at 41; see also id. at 8-9, 37-38, 44.

             2.     The district court correctly rejected a theory of conspiracy-
                    jurisdiction under Rule 4(k)(2)

      Schrier also argues that his unsupported and conclusory allegations of a

“conspiracy” between QIB and the terrorists who kidnapped him satisfies the

minimum contacts analysis. This is because, he asserts, the terrorists’ conduct in

kidnapping and detaining Schrier in Syria was directed at the United States, and had

effects here. Appellant’s Br. at 32, 37-38.




                                          33
USCA11 Case: 22-13513       Document: 35      Date Filed: 03/07/2023   Page: 49 of 67



                   a.     Conspiracy jurisdiction is not cognizable under Rule
                          4(k)(2)

      As an initial matter, “Rule 4(k)(2) does not permit the exercise of conspiracy-

based jurisdiction.” Oueiss v. Saud, No. 1:20-CV-25022-KMM, 2022 WL 1311114,

at *19 (S.D. Fla. Mar. 29, 2022) (citation omitted). In keeping with “just about every

other federal court to have addressed this issue[,]” the district court held that Rule

4(k)(2) does not countenance a conspiracy-based theory of personal jurisdiction in

light of the Supreme Court’s clear guidance on what due process in this context

requires. Dkt. 182 at 47; see Walden v. Fiore, 571 U.S. 277, 284 (2014) (holding that

to comport with due process, a defendant’s relationship with the forum “must arise

out of contacts that the defendant himself creates with the forum[.]”) (cleaned up &

emphasis in original) (citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475,

105 S. Ct. 2174, 85 L. Ed. 2d 528 (1985) (“Jurisdiction is proper, however, where

the contacts proximately result from actions by the defendant himself that create a

‘substantial connection with the forum[.]’”) (emphasis in original)). Indeed, “[n]o

federal court in the country” has “ever applied a conspiracy-based theory of

jurisdiction under Rule 4(k)(2).” Dkt. 182 at 46 (emphasis in original); see also id.

at 44 (collecting cases not permitting the exercise of conspiracy-based jurisdiction

under Rule 4(k)(2)).

      Schrier argues that because various state long-arm statutes permit the exercise

of conspiracy-based jurisdiction, so too must Rule 4(k)(2). Appellant’s Br. at 33-34.


                                         34
USCA11 Case: 22-13513        Document: 35       Date Filed: 03/07/2023   Page: 50 of 67



But in its Order, the district court clearly distinguished Rule 4(k)(2), which does not

support conspiracy-based jurisdiction in part because it focuses its language entirely

on the defendant, without regard for the contacts of others, from various state long-

arm statutes, which often explicitly permit conspiracy-based jurisdiction through

their plain language. Dkt. 182 at 47 (comparing language of Fed. R. Civ. P. 4(k)(2)

with Fla. Stat. § 48.193(1)(a)). The district court’s interpretation was correct. Indeed,

no federal court has ever applied a conspiracy-based theory of jurisdiction under

Rule 4(k)(2). This Court should not be the first.

                    b.     Schrier has not alleged a prima facie case for
                           conspiracy-based jurisdiction

      Even if specific personal jurisdiction under Rule 4(k)(2) could be exercised

on the basis of an alleged co-conspirator’s acts, the allegations present here would

not suffice. Schrier has failed to make a prima facie case for jurisdiction on this

basis. Schrier has provided only conclusory and unsupported allegations that QIB

entered into any conspiracy with the Nusra Front.18 These allegations are wholly

insufficient.


18
  A plaintiff must allege sufficient facts to show “more than a sheer possibility that
a defendant has acted unlawfully,” and accordingly, “where the plaintiff alleges facts
that are “‘merely consistent with’ a defendant's liability, it ‘stops short of the line
between possibility and plausibility of entitlement to relief.’” Ashcroft v. Iqbal, 556
U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 557, 127 S. Ct. 1955, L. Ed. 2d 929 (2007)). The court need
not credit “[t]hreadbare recitals of the elements of a cause of action, supported by
(Continued...)

                                           35
USCA11 Case: 22-13513        Document: 35       Date Filed: 03/07/2023   Page: 51 of 67



      For instance, Schrier alleges that “QIB became part of this agreement when it

opened an account for al-Kabi to fundraise for the Nusra Front, all while knowing

of al-Kabi’s Nusra Front affiliation and his purpose in opening the account.”

Appellant’s Br. at 36; Dkt. 149, ¶¶ 111-22. But Schrier provides nothing beyond

conclusory (and implausible) allegations that unspecified “due diligence” provided

QIB with knowledge in 2013 that al-Kabi—who would not be designated for his

association with the Nusra Front until August 2015—was associated with the Nusra

Front, and the (equally implausible and unsupported) allegation that by providing

routine financial services to the person Schrier alleges to be al-Kabi’s son, QIB

somehow joined in a conspiracy to support to terrorism. Dkt. 149, ¶¶ 42, 111, 115,

120-22, 257. Schrier’s conclusory and factually unsupported allegations cannot and

should not provide a basis for the novel application of conspiracy jurisdiction under

Rule 4(k)(2).

                    c.      The ‘effects test’ is inapplicable under either approach

      Schrier argues that the Nusra Front’s activities were expressly aimed at the

United States, and that the effects of these activities were felt in the United States.

Schrier further alleges that the Nusra Front’s torts should be imputed onto QIB (vis-

à-vis the alleged conspiracy) to create jurisdiction, or alternatively that QIB’s alleged




mere conclusory statements.” Id. at 678 (citation omitted).

                                           36
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 52 of 67



“support” for the terrorist organizations responsible for his kidnapping and detention

was conduct that QIB itself has directed at the United States. Appellant’s Br. at 32,

37, 39, 42. This latter alleged conduct is the same conduct that Schrier alleges made

QIB a party to the conspiracy. See Appellant’s Br. at 40 (“QIB knowingly provided

financial services to the Nusra Front via the al-Kabi account. QIB should be subject

to jurisdiction for the effects of its knowing conduct.”) (internal citations omitted).

      The ‘effects test’ is inapplicable under either approach. While the effects test

has sometimes been sufficient to establish minimum contacts in instances where a

foreign defendant is a primary participant in a terrorist attack, that is not the case

here. Schrier does not allege that QIB was a direct participant in his alleged

kidnapping and detention, or that QIB directed any suit-related activities at the

United States beyond those alleged in New York.

      The district court properly and thoroughly distinguished the cases upon which

Schrier relies to show that the ‘effects test’ has been used as the basis for exercising

personal jurisdiction, including Mwani, Morris, and Wultz, from the facts present

here. See Dkt. 182 at 39-44; Mwani v. bin Laden, 417 F.3d 1, 13 (D.C. Cir. 2005)

(finding personal jurisdiction over bin Laden and al-Qaeda where they directly

engaged in the activities subjecting them to personal jurisdiction, including

extensive and “overt acts occurring within this country’s borders.”); Morris v.

Khadr, 415 F. Supp. 2d 1323, 1326-27, 1336 (D. Utah 2006) (personal jurisdiction



                                          37
USCA11 Case: 22-13513        Document: 35       Date Filed: 03/07/2023   Page: 53 of 67



asserted over longtime member of al-Qaeda who served in key leadership roles

within the organization, who provided extensive and material support, including

financial and personnel support, planning of its terrorist agenda, and even

encouraged his own son to join in the attacks against Americans); Wultz v. Islamic

Rep. of Iran, 755 F. Supp. 2d 1, 19, 34-36 (D.D.C. Oct. 20, 2022) (distinguishing

“the mere provision of routine banking services that benefited a terrorist organization

in some general, nondescript manner” which would “not support a finding of specific

jurisdiction” with factually supported allegations that the bank knew its dozens of

transfers totaling millions of dollars were enabling terrorists after Israeli officials

informed the government, which in turn informed the bank, as supporting a finding

of specific jurisdiction).

      As the district court explained, these cases are in stark contrast to the facts

presented here. Dkt. 182 at 41 (“Our case (it almost goes without saying) is totally

different.”). Specifically, the district court pointed out that Schrier is suing a Qatari

bank (not the terrorists who injured him); he identified only three routine financial

transactions preceding his escape (not the dozen or more acts of terrorism the Mwani

defendants indisputably directed at the United States, or the attack that the Morris

defendant had launched against the U.S.), which QIB has demonstrated, with

competent and unrefuted evidence, are unrelated to his claims and to terrorism

generally (unlike the Mwani and Morris plaintiffs, who supplemented allegations



                                           38
USCA11 Case: 22-13513       Document: 35      Date Filed: 03/07/2023   Page: 54 of 67



with “extremely inculpatory evidence of the defendants’ U.S.-directed activities” or

the Wultz plaintiffs, who alleged specific facts and did not rely on conclusory

allegations). Id.

      C.     The Exercise of Rule 4(k)(2) Jurisdiction Over QIB Would Be
             Inconsistent with the United States Constitution

      Rule 4(k)(2) requires that the “exercise of jurisdiction be consistent with the

United States Constitution[.]” Dkt. 182 at 31; Fed. R. Civ. P. 4(k)(2)(B). As this

Court has provided, “[j]urisdiction ‘consistent with the Constitution and laws of the

United States’ is that which comports with due process.” Consolidated Dev., 216

F.3d at 1291. To comport with due process, the non-resident defendant must have

certain minimum contacts with the forum such that the maintenance of the suit does

not offend the traditional notions of fair play and substantial justice. See e.g.,

Helicopteros Nacionales de Colombia S.A., 466 U.S. at 414; Fraser, 594 F. 3d at

850; Oldfield, 558 F.3d at 1220.

      As described supra, QIB does not have sufficient minimum contacts with the

United States to support the exercise of Rule 4(k)(2) jurisdiction19 where the only

contacts Schrier alleges—correspondent account transactions through a single

state—have been proven by competent evidence to be unrelated to Schrier’s claims,



19
  Nor does QIB have sufficient minimum contacts with any state that would support
the exercise of jurisdiction under any other basis.
(Continued...)

                                         39
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 55 of 67



and where conspiracy-based jurisdiction is not cognizable under Rule 4(k)(2).20 See

Dkt. 182 at 8-9, 37-38, 41, 44-48. Despite Schrier’s assertion otherwise, neither the

purposeful availment or relatedness prongs have been satisfied. Appellant’s Br. at

44. The district court correctly held that because Schrier failed to show that QIB’s

contacts with the United States were “related” to his claims, its analysis need not

reach whether the exercise of personal jurisdiction comports with traditional notions

of fair play and substantial justice.21 Dkt. 182 at 49 n.22. This is because without

those minimum contacts, the maintenance of the suit necessarily offends the

traditional notions of fair play and substantial justice. See Fraser, 594 F. 3d at 850.

III.   THE FLORIDA LONG-ARM STATUTE DOES NOT CONFER
       JURISDICTION OVER QIB

       The district court also correctly rejected Schrier’s argument that the Florida

Long-Arm Statute provides a basis for the exercise of specific personal jurisdiction

over QIB. Schrier has argued that “QIB is subject to jurisdiction [in Florida] because



20
   Even if conspiracy-based jurisdiction theoretically could be cognizable under Rule
4(k)(2), Schrier failed to establish any conspiracy, much less a conspiracy that would
constitute contacts sufficient to comport with traditional notions of fair play and
substantial justice in any exercise of specific personal jurisdiction.
21
   Even if the correspondent accounts were “related” to Schrier’s claims—which the
district court found they were not—this would be insufficient to establish that the
exercise of jurisdiction under Rule 4(k)(2) would comport with traditional notions
of fair play and substantial justice because Schrier has taken the position that these
transactions are insufficient to subject QIB to the jurisdiction of New York’s courts
of general jurisdiction and he has not alleged that QIB has any contacts in any other
states in the United States.

                                          40
USCA11 Case: 22-13513         Document: 35       Date Filed: 03/07/2023   Page: 56 of 67



the Nusra Front would be.” Appellant’s Br. at 48-49; Dkt. 158 at 2. As the district

court accurately recited, the Florida Long-Arm Statute could confer jurisdiction over

QIB under a ‘co-conspirator’ theory of jurisdiction only if:

               (1) [J]urisdiction can, under the traditional tests . . ., be
               asserted over a ‘resident’ defendant (i.e. one with
               sufficient ties to the state); (2) the plaintiff can
               demonstrate the existence of a conspiracy in which the
               non-resident defendant and the resident defendant
               participated; and (3) an overt act in furtherance of the
               conspiracy took place within the state.

Dkt. 182 at 23 (quoting Quail Cruises Ship Mgmt., Ltd. v. Agencia de Viagens CVC

Tur Limitada, No. 09–23248–CIV, 2011 WL 5057203, at *4 (S.D. Fla. Oct. 24, 2011)

(Huck, J.)).

      Schrier’s allegations do not meet any of these requirements.22 As an initial

matter, Schrier failed to demonstrate the existence of the alleged conspiracy. QIB

submitted evidence that the financial transactions in question did not involve the

Nusra Front, Schrier failed to present any evidence that would refute this, and Schrier

admits that al-Kabi was not a designated supporter of the Nusra Front until August

2015, two years after Schrier escaped. See Dkt. 156-2, Exhs. A-F, I; Dkt. 149, ¶ 111.

Schrier failed to make a “colorable, factually supported claim of the conspiracy’s

existence” to rebut that evidence as required. Hasenfus v. Secord, 797 F. Supp. 958,



22
 Nor did Schrier actually plead a cause of action for civil conspiracy or conversion.
Dkt. 182 at 23, 27.

                                            41
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 57 of 67



962 (S.D. Fla. 1989) (Plaintiff cannot merely “repeat[] the allegations contained in

the complaint”).

      Schrier also failed to allege that the purported tortious conduct—conversion—

occurred in Florida as required by the Florida Long-Arm Statute. Dkt. 182 at 24;

Fla. Stat. § 48.193(1)(a)(2); Dkt. 149, ¶¶ 74-75. Under Florida law “the relevant act

for personal jurisdiction purposes with regard to the tort of conversion is the initial

wrongful deprivation.”23 Russo v. Fink, 87 So. 3d 815, 818 (Fla. 4th DCA 2012); see

also Merkin v. PCA Health Plans of Fla., Inc., 855 So. 2d 137, 140 (Fla. 3d DCA

2003) (“A tort claim is deemed to have accrued where the last event necessary to

make the defendant liable for the tort took place.”) (alteration, internal quotation

marks, and citation omitted). Based on the facts alleged, the alleged conversion took

place in Syria, as that is the location that the Nusra Front allegedly completed its

“wrongful exercise of dominion and control” over Schrier’s property. Merkin, 588

So. 2d at 140; Dkt. 149, ¶¶ 74-75; Dkt. 182 at 25.




23
   Schrier’s reliance on Gisclair is misplaced. Gisclair considers the “continuous”
nature of conversion for the purposes of venue, not jurisdiction. See Intercapital
Funding Corp v. Gisclair, 683 So. 2d 530, 532 (Fla. 4th DCA 1996) (“if the property
converted has been taken from one county to another, it may be said to have been
committed in either county for purposes of venue.”) (quoting Martin v. Kuhl, 528
So. 2d 71-72 (Fla. 4th DCA 1988) (emphasis added)); cf. Russo, 87 So. 3d at 818
(“[T]he relevant act for personal jurisdiction purposes with regard to the tort of
conversion is the initial wrongful deprivation.”) (emphasis added).

                                          42
USCA11 Case: 22-13513         Document: 35      Date Filed: 03/07/2023    Page: 58 of 67



      Finally, Schrier’s claims fundamentally do not “arise from the alleged

conversion.” Dkt. 182 at 27 (emphasis in original). As this Court has repeatedly held,

under the Florida Long-Arm Statute, a plaintiff’s lawsuit must arise primarily out of

an in-state act enumerated in the statute. See RMS Titanic, Inc. v. Kingsmen

Creatives, Ltd., 579 F. App’x 779, 787 (11th Cir. 2014) (“In other words, ‘the

activities in Florida [must be] essential to the success of the tort.’”) (quoting Williams

Electric v. Honeywell, Inc. 854 F.2d 389, 394 (11th Cir. 1988)); Fla. Stat. § 48.193

(providing jurisdiction for “any cause of action arising from” the enumerated acts)

(emphasis added). Schrier brought twelve causes of action against QIB arising out

of his alleged kidnapping and detention by the Nusra Front in Syria. As the district

court correctly stated, these causes of action do not arise out of the subsequent

conversion of his credit cards. Dkt. 182 at 28. Nor does Schrier allege that the two

purchases from Florida vendors—for window washing fluid and sunglasses—were

used for his kidnapping and detention, or for furthering his detention. Dkt. 149, ¶¶

74-75. Therefore, Schrier failed to establish personal jurisdiction over QIB under the

Florida Long-Arm Statute. Dkt. 182 at 28.

IV.   THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION IN
      DENYING SCHRIER’S REQUEST FOR SANCTIONS

      Schrier’s argument that the district court’s dismissal should be reversed due

to QIB’s alleged discovery misconduct is based on a fundamental misapprehension

that the district court did not rule on his request for sanctions. Schrier speculates that


                                           43
USCA11 Case: 22-13513         Document: 35      Date Filed: 03/07/2023    Page: 59 of 67



the district court did not consider his request based merely on the fact that the district

court did not expressly address the request in its order determining that it lacked

personal jurisdiction over QIB. However, unlike the cases on which Schrier relies,

he has failed to establish that the district court did not consider his request.

      Schrier concedes that the district court had complete discretion to decide

whether to grant his request for sanctions. See Appellant’s Br. at 50. Issues related

to discovery disputes are reviewed for abuse of discretion. Lee v. Etowah Cnty. Bd.

of Educ., 963 F.2d 1416, 1420 (11th Cir. 1992) (discovery ordered reviewed for

abuse of discretion); Baker v. St. Paul Travelers Ins. Co., 670 F.3d 119, 122 (1st Cir.

2012) (discovery orders, including the denial of a motion for discovery sanctions,

are reviewed for abuse of discretion); Security Nat'l Bank of Sioux City v. Day, 800

F.3d 936, 941 (8th Cir. 2015) (same). Here, the district court did not abuse its

discretion by denying Schrier’s untimely request for discovery sanctions.

      The district court was not obligated to explain its reasons for denying Schrier’s

untimely request for discovery sanctions. Schrier improperly brought this issue

before the district court for the first time in his Opposition to Defendant’s Motion to

Dismiss. Dkt. 158 at 19-20. There is no authority that requires a district court to

expressly address everything a plaintiff argues in an opposition to a motion to

dismiss. Schrier cites only two cases to support his position. See Appellant’s Br. at

50-51, citing Showan v. Pressdee, 922 F.3d 1211 (11th Cir. 2019), and LSLJ



                                           44
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 60 of 67



Partnership v. Frito-Lay, Inc., 920 F.2d 476 (7th Cir. 1990). Neither case supports

his position.

      First, neither case deals with discovery sanctions, and neither case involves a

discovery motion raised for the first time in opposition to a dispositive motion. In

both cases, the abuse of discretion resulted from the lower court’s erroneous

statements that it was not permitted to rule on a question of law. In Showan, the

district court abused its discretion because it “erroneously concluded it had no

discretion” to decide whether a unit-of-time argument was allowable under the law.

See 922 F.3d at 1220. Similarly, in LSLJ Partnership, the district court abused its

decision when it declined to rule on the merits of a Rule 60(b) motion because the

court erroneously believed that it had no jurisdiction to do so. See 920 F.2d at 479.

These cases found an abuse of discretion because the courts made it clear on the

record that they were not ruling on the motion based on the erroneous belief that

they could not do. Here, however, Schrier has not pointed to any record evidence

that the district did not believe it could rule on a sanctions motion and therefore

declined to do so.

      Although Schrier is not asking this Court to rule on the merits of his sanctions

request, the remainder of Schrier’s argument focuses on his belief that the district

court “had a basis for sanctions.” Appellant’s Br. at 51. To the contrary, such a basis

is lacking for two reasons: 1) QIB did not improperly refuse to answer merits-based



                                          45
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 61 of 67



discovery questions, and 2) Schrier failed to properly and timely exercise any right

to compel responses to those questions before seeking an adverse inference.

      On September 30, 2020, the district court granted QIB’s first motion to

dismiss and granted Schrier’s ore tenus request for limited jurisdictional discovery.

Dkt. 74. Schrier deposed QIB’s 30(b)(6) representative on September 23, 2021.

Schrier improperly exceeded the scope of jurisdictional discovery and sought merits-

based discovery throughout the deposition. QIB properly exercised its right not to

answer those questions because they transgressed the discovery limitations ordered

by the district court. As explained by the court in Mitnor Corp. v. Club

Condominiums, 339 F.R.D. 312, 316 (N.D. Fla. 2021), a case cited in Schrier’s brief,

“[a] person may instruct a deponent not to answer . . . to enforce a limitation ordered

by the court.” QIB properly instructed the witness not to answer deposition questions

that exceeded the scope of jurisdictional discovery—a limitation ordered by the

district court—in both time and topic pursuant to Rule 30(c)(2). See Klayman v.

Fitton, No. 19-20544-CIV-MARTINEZ/AOR, 2019 WL 11505348, at *1-2 (S.D.

Fla. July 11, 2019) (Rule 30 permitted instructions not to answer deposition

questions that exceeded the scope of jurisdictional discovery).

      Though Schrier expressed disagreement with the objections, he did not move

to compel answers. As the Federal Rules specify, when a witness fails to answer a

question during a deposition, “the questioning party may subsequently move to



                                          46
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 62 of 67



compel disclosure of the testimony that it sought.” Kelly v. A1 Tech., No. 09 CIV.

962 LAK MHD, 2010 WL 1541585, at *20 (S.D.N.Y. Apr. 12, 2010) (emphasis

added); Klayman, 2019 WL 11505348, at *1; Fed. R. Civ. P. 37(a)(3)(B)(i). It was

not until November 8, 2021, over a month after the deposition and after the close of

jurisdictional discovery that Schrier referenced this issue in his Opposition to

Defendant’s Motion to Dismiss.24

      If Schrier truly believed he was entitled to additional answers from QIB, it

was incumbent on him to timely move to compel them commensurate with his

obligations under S.D. Fla. Local R. 26.1(g), but he strategically chose not to. See

New World Network Ltd. v. M/V NORWEGIAN SEA, No. 05-22916-CIV, 2007 WL

1068124, at *4 (S.D. Fla. Apr. 6, 2007) (“The requesting party has the obligation . .

. to seek to compel additional answers if necessary, following the deposition.”)

(emphasis added). From discovery already produced, Schrier knew that any

supplemental deposition of QIB would only further prove his allegations to be

untrue. Instead, he waited until after the close of discovery, ignored his obligation to

seek to compel discovery, and asked for an adverse inference under Rule 30(d).




24
   Local R. 26.1(g)(1) requires that “[a]ll disputes related to discovery shall be
presented to the court by motion...within (30) days from the: (b) date of the
deposition in which the dispute arose. The “Motion for Sanctions” was presented to
the district court more than 45 days after the date of the 30(b)(6) deposition at issue.

                                          47
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 63 of 67



      Moreover, Schrier provided no precedent for drawing an adverse inference

under Rule 30(d). The cases Schrier cites in support of his contention that courts

have upheld sanctions that result in the exercise of personal jurisdiction are

distinguishable from this case. See Appellant’s Br. at 52, citing Ins. Corp. of Ireland

v. Compagnie des Bauxites de Guinee, 456 U.S. 694 (1982); D.J. Simmons, Inc. v.

Broaddus, No. CIV 99-1105 JP/LFG, 2000 WL 36739814 (D.N.M. June 21, 2000).

Those cases involve sanctions under Rule 37, which is not at issue here. Unlike

Appellant, the plaintiffs there sought to compel discovery and the defendants defied

a court order necessitated by defendants’ earlier unreasonable failure to respond to

discovery. See Ins. Corp. of Ireland, 456 U.S. at 699; D.J. Simmons, 2000 WL

36739814, at *7. Here, QIB did not fail to comply with its discovery obligations,

Schrier did not move to compel discovery, and QIB did not defy a court order

compelling discovery.

      Schrier request for an adverse inference based on QIB’s refusal to respond to

merits-based deposition questions was therefore frivolous. QIB properly refused to

answer questions exceeding the discovery limitations ordered by the district court.

Schrier failed to move to compel answers to those questions, and he raised an

untimely and procedurally improper request for sanctions based on a strategic

decision that seeking an adverse inference was more beneficial than compelling

answers to the questions because those answers would reinforce the fact that his



                                          48
USCA11 Case: 22-13513        Document: 35      Date Filed: 03/07/2023   Page: 64 of 67



allegations are false. Schrier’s attempt now to obtain a remand is nothing more than

a last-gasp effort to resurrect a claim that never had merit.

                                   CONCLUSION

      The district court correctly concluded that it lacked personal jurisdiction over

QIB. Despite having been afforded jurisdictional discovery, Schrier cannot show that

the district court should have exercised personal jurisdiction. Rather, the evidence

instead established that personal jurisdiction over QIB would be improper under all

theories that Schrier advances. Nor can Schrier show that the district court abused

its discretion in denying his motion for sanctions. For the foregoing reasons, QIB

respectfully requests that this Court affirm thethe district court’s Order Granting

QIB’s Motion to Dismiss the Second Amended Complaint.




                                          49
USCA11 Case: 22-13513   Document: 35   Date Filed: 03/07/2023   Page: 65 of 67



Dated: March 1, 2023             Respectfully submitted,

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                                   1
USCA11 Case: 22-13513      Document: 35     Date Filed: 03/07/2023   Page: 66 of 67



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                                        2
USCA11 Case: 22-13513       Document: 35     Date Filed: 03/07/2023   Page: 67 of 67



                         CERTIFICATE OF SERVICE

      I certify that on March 1, 2023, I filed the foregoing paper through the Court’s

CM/ECF system, which will automatically and electronically serve the paper on all

counsel of record.



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